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     Rev:




                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA
               vs.


                                                   Category




                       Defendant(s)



                                   REASSIGNMENT OF CRIMINAL CASE


     The above-entitled case was reassigned on                   from

to                                           by direction of the Calendar Committee.




                                                          JUDGE
                                                          Chair, Calendar and Case
                                                          Management Committee




     cc:                                                  & Courtroom Deputy


               U.S. Attorney’s Office – Judiciary Square Building, Room 5133
               Statistical Clerk
